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MINUTE ENTRY
BARBIER, J.
February 27, 2024
                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

 G.H.                                                     CIVIL ACTION

 VERSUS                                                   NO: 21-407


 RODNEY VICKNAIR, ET AL.                                  SECTION: “J” (4)




        The Court held a pretrial conference on this date with the following counsel

participating: William Most and Hope Phelps, representing Plaintiff; and James

Roquemore and Corwin St. Raymond representing Defendants.

        At the conference, the Court ORDERED as follows:

        (1) Jury trial will commence on March 18, 2024 at 8:30 a.m. The trial is

           estimated to last 3 days. Counsel should be present at least 30 minutes

           prior to the start of trial.

        (2) All exhibits will be presented by electronic means.

        (3) By Monday, March 11, 2024, at noon, Plaintiff’s counsel is to prepare

           and submit to the Court the original and one copy of a single Bench Book

           which should contain:

              a. An Index of all un-objected to exhibits, listing and numbering all

                  exhibits sequentially and without reference to the offering party

              b. All un-objected to exhibits are to be included in the single Bench Book



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          (with multiple volumes if necessary) with each exhibit tabbed,

          numbered, and paginated. Photographs of large exhibits and

          posters are to be included in the Bench Book. While oversized

          exhibits and posters may be used during trial, they will not be kept

          by the Case Manager.

       c. A second volume, containing any “objected to” exhibits, shall also be

          submitted by Monday, March 11, 2024 at noon. Separate, but

          brief memoranda stating the reason for the objections and

          responding to the objections of other counsel must be filed by the

          offering party by Monday, March 11, 2024, at noon.

       d. Any discovery that will be used as an Exhibit must be specifically

          identified;   for   example,   the   exact   Interrogatory    and   the

          corresponding Answer.

       e. Each page of the Bench Book should be individually and sequentially

          Bates labeled.

       f. Counsel are encouraged to redact or remove any unnecessary pages

          from voluminous exhibits.

 (4) By Monday, March 11, 2024, at noon, the parties are to submit any

    motions in limine. If a party intends to oppose a motion in limine, that party

    should immediately contact chambers for an applicable response deadline.

 (5) By Monday, March 11, 2024, at noon, the parties are to file into the

    record and submit to the Court their proposed Jury Charges (which are



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    unique to this case), Special Interrogatories to the Jury (the verdict form),

    and     any     proposed     voir        dire   questions   by   email     to

    Maggie_Daly@laed.uscourts.gov in Microsoft Word format, regarding the

    claims that are to be tried to a jury.

 (6) By Monday, March 11, 2024, at noon, the parties are to submit any

    pretrial memoranda, which are strictly optional.

 (7) By Monday, March 11, 2024, at noon, the parties are to submit the entire

    transcript of any deposition (including video and audio depositions) which

    will be used in lieu of live testimony at trial. If the parties do not seek

    to introduce the entire deposition, they should designate which

    portions they seek to introduce in a letter to the Court. The parties

    should also highlight the designated portions of the subject

    transcript. All colloquy and objections (which can be resolved among the

    parties) are to be removed in the transcripts, video, and audio (if

    applicable). Any objections which cannot be worked out by the parties must

    be highlighted in the subject transcript and brief memoranda addressing

    “why the objections should be sustained or not” must also be submitted to

    the Court by Monday, March 11, 2024, at noon. After the Court rules on

    the objections, the parties are to have the video and audio depositions (if

    any) edited accordingly so that any references to “objections” are deleted,

    and there is no dead space in either the video or audio presentation.

 (8) By Monday, March 11, 2024, at noon, the parties are to exchange “will



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        call” witness lists so that arrangements may be made for their presence at

        trial.

     (9) At the commencement of trial, counsel will provide the Court with three (3)

        copies of the final witness list.

     (10)   The Court’s Case Manager, Cheyenne Green, is to be notified three (3)

        working days prior to trial of any equipment that will be needed by counsel

        during trial or if more than two tables will be needed to seat counsel.

        Additionally, it is highly recommended that counsel contact the Case

        Manager during the week prior to trial to schedule a meeting during

        which the Case Manager can instruct counsel on the use of the

        Court’s electronic trial equipment. This equipment will be necessary

        for the electronic presentation of exhibits. The Court will not operate the

        equipment for counsel during trial and will not give instruction on the use

        of equipment on the morning of trial.


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JS-10: 45 mins.



     New Orleans, Louisiana, this 27th day of February, 2024.



                                                ____________________________________
                                                CARL J. BARBIER
                                                UNITED STATES DISTRICT JUDGE




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